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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

 

______________________________________ X
' 17CV4179(DLC)
SECURITIES & EXCHANGE COMMISSION,
ORDER
Plaintiffs,
-v- 2 . 1
' US§DC ;"";`EB"'HZY
ALPINE SECURITIES CORPORATION, z !IF?{KTA§;{
IF\F
Defendant_ Ei. Ex"c:.-" §“ULQAL“ 1- ii W...E .-D

_ I,.‘Gf‘#
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DENISE COTE, District Judge:

On April 20, 2018, the defendant filed a motion for
reconsideration of the Court's March 30 Opinion to the extent it
granted in part the plaintiff's motion for summary judgment, and
filed a separate motion for reconsideration of the March 30
Opinion to the extent it denied the defendant’s cross-motion for
summary judgment, or in the alternative to certify the Court’s
March 30 Opinion for interlocutory appeal. The defendant also
moved on April 20 for leave to file additional exhibits in
support of its motions for reconsideration, which was denied on
April 23. Accordingly, it is hereby

ORDERED that the plaintiff shall file any oppositions to
the defendant’s two motions for reconsideration by May 11. The
defendant shall file any replies in support of its two motions
for reconsideration by May 25. At the time these papers are

served the filing party shall supply two courtesy copies to

 

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Chambers by mail or delivery to the United States Courthouse,

500 Pearl Street, New York, New York.

SO ORDERED:

Dated: New York, New York
April 23, 2018

m jr

D§ §NISE COTE
United States District Judge

